20-22239-shl        Doc 5     Filed 02/14/20     Entered 02/14/20 22:06:47        Main Document
                                               Pg 1 of 2



UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
In re:
                                                            Chapter 11
MARLAINA KOLLER CROES,
                                                            Case No. 20–22239 (RDD)
                                  Debtor.


           [PROPOSED] ORDER SCHEDULING INITIAL CASE CONFERENCE

                 Marlaina Koller Croes (the "Debtor") having filed a petition for reorganization

under chapter 11 of title 11 of the United States Code, 11 U.S.C. §§ 101 et seq. (the

“Bankruptcy Code”) on February 13, 2020, and the Court having determined that a case

management conference will aid in the efficient conduct of the case, it is hereby

                 ORDERED, pursuant to 11 U.S.C. § 105(d), that an initial case management

conference will be conducted by the undersigned Bankruptcy Judge in Room                  _ , United

States Bankruptcy Court, 300 Quarropas Street, White Plains, New York 10601 on                     ,

         , at _ _: _ _ _.m., or as soon thereafter as counsel may be heard, to consider the efficient

administration of the case, which may include, inter alia, such topics as retention of

professionals, creation of a committee to review budget and fee requests, use of alternative

dispute resolution, timetables, and scheduling of additional case management conferences; and

it is further

                   ORDERED, that the Debtor shall give notice by mail of this order at least seven

days prior to the scheduled conference to each committee appointed to serve in the case pursuant

to 11 U.S.C. § 1102 (or, if no committee has been appointed, to the holders of the 10 largest

unsecured claims), the holders of the five (5) largest secured claims, any post-petition lender to
20-22239-shl     Doc 5     Filed 02/14/20     Entered 02/14/20 22:06:47         Main Document
                                            Pg 2 of 2



the Debtor, and the United States Trustee, and shall promptly file proof of service of such notice

with the Clerk of the Court.

Dated: White Plains, New York
       February ____, 2020



                                              UNITED STATES BANKRUPTCY JUDGE




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